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1    HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Branch Chief, Fresno Office
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
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7
8                            IN THE UNITED STATES DISTRICT COURT
9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                  ) Case No. 1:22-MJ-00097-EPG
                                                 )
12          Plaintiff,                           ) APPLICATION AND ORDER
                                                 ) APPOINTING COUNSEL
13    vs.                                        )
                                                 )
14    TILISHA MORRISON,                          )
                                                 )
15          Defendant,                           )
                                                 )
16                                               )
17          Defendant Tilisha Morrison, through the Federal Defender for the Eastern District of
18
     California, hereby requests appointment of counsel.
19
            On June 9, 2022, a Complaint was issued in the above captioned case. Ms. Morrison had
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     an initial appearance on the allegations in the Northern District of Texas on June 17, 2022, at
21
     which time the Court appointed counsel and ordered she be released. Counsel in the Eastern
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23   District of California is needed in advance of arraignment in order to facilitate her appearance on

24   the pending charges.
25          After reviewing her Financial Affidavit, it is respectfully recommended that counsel be
26
     promptly appointed.
27
            DATED: June 23, 2022                                  /s/ Eric V. Kersten
28                                                         ERIC V. KERSTEN
                                                           Assistant Federal Defender
                                                           Branch Chief, Fresno Office
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1
                                          ORDER
2
            Having satisfied the Court that the defendant Tilisha Morrison is financially unable to
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     retain counsel, the Court hereby appoints counsel pursuant to 18 U.S.C. § 3006A.
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5
     IT IS SO ORDERED.
6
        Dated:    June 23, 2022                              /s/ Barbara A. McAuliffe                 _
7
                                                      UNITED STATES MAGISTRATE JUDGE
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